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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

               v.                                   Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


                                           NOTICE

       Pursuant to the Court’s April 19, 2019 Scheduling Order, ECF No. 11, Defendant

Gregory B. Craig hereby notifies the Court as follows:

       1.      On April 25, 2019, counsel for Mr. Craig and the government reached an

agreement with respect to certain evidence to be presented at trial. The terms of that agreement

are set forth in the attached Exhibit A (the “Letter Agreement”), which has been redacted to

remove the names of the referenced witnesses.

       2.      In light of the commitments set forth in the Letter Agreement, Mr. Craig does not

intend to file a motion in limine to exclude any testimony or other evidence that was the subject

of the litigation on the attorney-client privilege issues that were addressed by Chief Judge

Howell, as referenced in this Court’s Scheduling Order dated April 17, 2019.

       3.      Pursuant to the Scheduling Order, the parties intend to deliver to the Court today

copies of the sealed pleadings that were submitted in the pre-indictment litigation before the

Chief Judge. If the Court no longer wishes to receive those filings in chambers, based on the

matters addressed in paragraphs 1 and 2 above, we ask that the Court please inform the parties.

Otherwise, the pleadings, including full copies of certain pleadings that have not been received

by the government in unredacted form, will be delivered to chambers by 4:00 p.m. today.



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Counsel seek guidance as well concerning whether the Court requests delivery in chambers of

Chief Judge Howell’s Memorandum Opinion (filed under seal), and the sealed transcripts of the

two hearings from the pre-indictment litigation.



Dated: April 26, 2019                                  Respectfully submitted,


                                                       /s/ William J. Murphy
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                                                       Attorneys for Defendant Gregory B. Craig




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on April 26, 2019, the foregoing Notice was served on

counsel of record via the Court’s CM/ECF Service.


                                                    /s/ Adam B. Abelson
                                                    Adam B. Abelson




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